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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,
                                         Case No. 23-20037
v.                                       Hon. Jonathan J.C. Grey


HASSAN YEHIA CHOKR,

     Defendant.
______________________________/

                    ORDER FINDING DEFENDANT
                    COMPETENT TO STAND TRIAL

I.    INTRODUCTION

      This matter is before the Court following a competency hearing,

held on May 27, 2025. For the reasons stated on the record and in this

order, the Court finds Defendant Hassan Yehia Chokr competent to

stand trial.

II.   BACKGROUND

      On January 18, 2023, a grand jury indicted Chokr for felon in

possession of a firearm, in violation of 18 U.S.C. § 922(g)(1), and for

making a false statement during the attempted acquisition of a firearm,

in violation of 18 U.S.C. § 922(a)(6). (ECF No. 18.) Competency
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examinations revealed that Chokr was not competent to stand trial.

(ECF No. 39, PageID.233–234.) Following two attempts to restore

competency in a Bureau of Prisons medical center, Dr. Evan Du Bois, a

forensic psychologist at the Federal Medical Center in Butner, North

Carolina (“FMC Butner”), submitted a forensic evaluation report on

May 2, 2025. Dr. Du Bois opines that Chokr’s schizoaffective disorder no

longer impairs his ability to proceed in this case. The report indicates

that:

        [Chokr] is currently able to communicate legal decisions in a
        rational manner, communicate relevantly with his counsel,
        and engage in appropriate behavior within the courtroom to
        participate in his legal proceedings, if motivated to do so. He
        has maintained his factual understanding of the legal
        process and is better able to apply this knowledge due to the
        improvement in his psychiatric symptoms.

May 2025 Forensic Evaluation Report, p. 11. FMC Butner also

affixed a certificate of restoration of competency to stand trial to

the report. Id. at pp. 2–3. FMC Butner’s acting warden signed the

certificate. Id.

        The Court held a competency hearing on May 27, 2025. At

the hearing, neither the government nor Chokr challenged Dr. Du

Bois’ report or the acting warden’s certificate. Both parties


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requested that the Court find Chokr competent. The Court made a

finding on the record that Chokr was competent to stand trial.

III. LEGAL STANDARD

      To be competent to stand trial, a defendant must possess “(1) a

‘sufficient present ability to consult with his lawyer with a reasonable

degree of rational understanding,’ and (2) ‘a rational as well as factual

understanding of the proceedings against him.’” United States v.

Dubrule, 822 F.3d 866, 875 (6th Cir. 2016) (quoting Dusky v. United

States, 362 U.S. 402, 402 (1960)). The government bears the burden of

proving, by a preponderance of the evidence, that a defendant is

competent to stand trial. United States v. Chapple, No. 94-5048, 1995

WL 6147, at *2 (6th Cir. Jan. 6, 1995).

IV.   ANALYSIS

      While the Court has already found that Chokr is competent to

stand trial, the Court provides further detail here. Dr. Du Bois’ forensic

evaluation report indicates that Chokr can now communicate relevantly

with his lawyer and communicate legal decisions in a rational manner.

The report also indicates that Chokr has maintained a factual

understanding of the legal process. Further, the report includes a


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certificate of restoration of competency to stand trial signed by FMC

Butner’s acting warden. Neither the government nor Chokr challenges

Dr. Du Bois’ report or the certificate of competency restoration.

Therefore, the Court finds, by a preponderance of the evidence, that

Chokr is competent to stand trial. Chapple, 1995 WL 6147, at *2.

V.   CONCLUSION

     Accordingly, IT IS ORDERED THAT the Court deems Chokr

COMPETENT TO STAND TRIAL.

     SO ORDERED.
                                         s/Jonathan J.C. Grey
                                         Jonathan J.C. Grey
Date: May 29, 2025                       United States District Judge




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                         Certificate of Service

The undersigned certifies that the foregoing document was served upon
counsel of record and any unrepresented parties via the Court’s ECF
System to their respective email or First-Class U.S. mail addresses
disclosed on the Notice of Electronic Filing on May 29, 2025.

                               s/ S. Osorio
                              Sandra Osorio
                              Case Manager




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